             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION
                              2:13 cr 09-19


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )            ORDER
                                             )
ANGELA LEIGH WIKE,                           )
                                             )
                 Defendant.                  )
__________________________________           )


        THIS MATTER came before the undersigned on August 26, 2013 pursuant

to an Order of this Court directing Defendant to appear for the purpose of a hearing

to determine whether or not Defendant could be continued to be released on terms

and conditions of pretrial release, and as referenced in the Order (#172) entered on

August 23, 2013.     At the call of this matter on for hearing it appeared that

Defendant and her counsel, Mr. Jack Stewart, were present and the Government

was represented by Assistant United States Attorney, Tom Kent. The Defendant,

by and through her attorney, advised the Court that arrangements had been

completed for the Defendant to begin inpatient drug treatment on August 30, 2013.

To give Defendant sufficient time to begin treatment, the undersigned will

continue the status conference until September 4, 2013.       If Defendant or her

counsel can show that she has begun participation in an inpatient treatment




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program before that date, the undersigned will cancel the September 4, 2013

hearing.

                                   ORDER

      IT IS, THEREFORE, ORDERED that the status conference for August

26, 2013 is hereby continued until September 4, 2013 at 9:30 a.m.

                                            Signed: September 3, 2013




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